                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                               )
SYLVESTER ALLEN, JR., DEJUANA                  )
BIGELOW, TABATHA DAVIS, and                    )
FUTURE ALAMANCE, on behalf of                  )
themselves and all other similarly situated,   )
                                               )
                    Plaintiffs,                )
                                               )
             v.                                )
                                               )
CITY OF GRAHAM, KRISTI COLE,                   )
individually and in her official capacity as       Case No.: 1:20-cv-00997
                                               )
Chief of the Graham Police Department,         )
ALAMANCE COUNTY, TERRY S.                      )
JOHNSON, individually and in his official      )
capacity as Sheriff of Alamance County,        )
GRAHAM POLICE OFFICERS JOHN and                )
JANE DOES #1-15, and ALAMANCE                  )
COUNTY DEPUTY SHERIFFS JOHN                    )
AND JANE DOES #16-30,                          )
                                               )
                    Defendants.


GREGORY DRUMWRIGHT, EDITH )
ANN JONES, and JUSTICE FOR THE )
NEXT GENERATION,                             )
                                             )
                     Plaintiffs,             )
                                             )
               v.                            )
                                             )     Case No.: 1:20-cv-00998
TERRY JOHNSON, in his official and )
individual capacities as Alamance County )
Sheriff, and MARY KRISTY COLE, in her )
official and individual capacities as Graham )
Chief of Police,                             )
                                             )
                      Defendants.            )




     Case 1:20-cv-00997-CCE-LPA Document 20 Filed 12/01/20 Page 1 of 7
     BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO CONSOLIDATE


       Pursuant to F. R. Civ. P 42 (A), all Defendants in the above captioned cases,

excluding Graham Police Officers John and Jane Does #1-15 and Alamance County

Deputy Sheriffs John and Jane Does #16-30, move this Honorable Court to consolidate

these cases. Counsel for the Plaintiffs in both matters consent to the consolidation of these

matters.

       I. INTRODUCTION

       On November 2, 2020 Plaintiffs Sylvester Allen, Dejuana Bigelow and Future

Alamance filed the above captioned action, Sylvester Allen Junior, et al., v. City of

Graham, 1:20-cv-00997 et al. seeking declaratory relief and damages, alleging that the

Defendants interfered with their protected rights to assemble, engage in speech and vote.

These allegations arose out of a demonstration held on October 31, 2020 in the city of

Graham, North Carolina. Plaintiff’s Complaint [DE 1] alleges four causes of action; Voter

Intimidation, First Amendment Retaliation, Fourth Amendment Excessive Force claims,

and Conspiracy to Deprive Civil Rights.

       Defendants City of Graham, Kristi Cole, Alamance County, and Terry S. Johnson

have been served in this matter and the time for filing a responsive pleading on their behalf

has not yet expired. Graham Police Officers John and Jane Does #1-15 and Alamance

County Deputy Sheriff’s John and Jane Does #16-30 have not been served in this matter

and undersigned counsel for Defendants are not making an appearance on their behalf at

this time.

                                             2


      Case 1:20-cv-00997-CCE-LPA Document 20 Filed 12/01/20 Page 2 of 7
       On November 2, 2020 Plaintiffs Reverend Gregory Drumwright, Edith Ann Jones,

and Justice for the Next Generation filed the above captioned action, Gregory Drumwright

et.al, v. Terry Johnson et.al, 1:20-cv-00998, wherein those Plaintiffs seek injunctive relief

and damages, alleging that Defendants planned and authorized the use of excessive force

against the Plaintiffs at a demonstration held in Graham, North Carolina on October 31,

2020. Plaintiff’s further allege that Defendants interfered with Plaintiff’s protected speech

and assembly rights, as well as their right to vote.

       Defendants Terry Johnson and Kristi Cole have been served in the Gregory

Drumwright et.al, v. Terry Johnson et.al matter and the time for filing a responsive

pleading on their behalf has not yet expired.

       Counsel for all parties in both of the above captioned matters have conferred and

consent to these actions being consolidated pursuant to Fed. R. Civ. P. 42 (a). The Parties

reserve the right to request separate briefing as appropriate.

       II. CONSOLIDATION IS APPROPRIATE UNDER RULE 42(A)

       Rule 42(a) of the Federal Rules of Civil Procedure states, in pertinent part:

                      When actions involving a common question of law or
              fact are pending before the court, it may order a joint hearing
              or trial of any or all the matters in issue in the actions; it may
              order all the actions consolidated; and it may make such orders
              concerning proceedings therein as may tend to avoid
              unnecessary costs or delay.

       First, a motion to consolidate must meet the threshold requirement of involving “a

common question of law or fact.” Pariseau v. Anondyne Healthcare Management, Inc.,

2006 WL 325379 at * 1 (W.D.N.C. 2006) (unpublished) If that threshold requirement is


                                                3


      Case 1:20-cv-00997-CCE-LPA Document 20 Filed 12/01/20 Page 3 of 7
met, then whether to grant the motion becomes an issue of judicial discretion. Arnold v.

Eastern Air Lines, 681 F.2d 186, 193 (4th Cir.1982).

       It is clear that the above captioned cases, Sylvester Allen Junior, et al., v. City of

Graham and Gregory Drumwright et.al, v. Terry Johnson et.al involve several common

questions. The allegations put forth in the complaints appear to share commonalities of

fact and there are also numerous common questions of law. Although the damages for each

plaintiff may be different, both cases arose out of the same incident on October 31, 2020

in Graham, North Carolina. In each complaint the Plaintiffs set forth allegations that the

Defendants interfered with their protected right to assemble, engage in speech and vote. In

each complaint the Plaintiffs seek a determination from the Court that the actions of the

Defendants violated their various constitutionally protected rights. Further, it is anticipated

that the immunities and defenses put forth by Defendants will be common to both actions.

       As this threshold requirement of common questions is met, the Defendants also

contend that judicial discretion warrants consolidation of these cases. The Middle District

of North Carolina addressed what factors should be considered in determining whether a

motion to consolidate should be granted. The Court wrote:

                      Rule 42(a) ... allows a court to consolidate actions if
              they involve a “common question of law or fact.” In exercising
              its discretion in such regard, the court should weigh the risk of
              prejudice and possible confusion versus the possibility of
              inconsistent adjudication of common factual and legal issues,
              the burden on the parties, witnesses, and judicial resources by
              multiple lawsuits, the length of time required to try multiple
              suits versus a single suit, and the relative expense required for
              multiple suits versus a single suit. In re Cree, Inc., Securities
              Litigation, 219 F.R.D. 369 (M.D.N.C.2003) (citing Arnold v.
              Eastern Air Lines, 681 F.2d at 193).

                                              4


      Case 1:20-cv-00997-CCE-LPA Document 20 Filed 12/01/20 Page 4 of 7
       Further, the Defendants ask the Court to recognized that consolidation may be

appropriate because the witnesses for both cases will be virtually identical. Consolidating

the cases for the discovery process will significantly reduce the expense incurred by the

parties and the burden on the parties and witnesses should be significantly reduced. In

addition, consolidating the cases for dispositive motions will ultimately reduce the burden

on the Court and promote the fair and efficient administration of justice given the

significant overlap in legal questions. Thus, the relative burdens and benefits fall clearly in

favor of consolidation in this matter.

       III. CONCLUSION

       Wherefore, the Parties respectfully contend that consolidation is appropriate under

Rule 42(a), and move this Honorable Court to consolidate Sylvester Allen Junior, et al., v.

City of Graham 1:20-cv-00997 with Gregory Drumwright et.al, v. Terry Johnson et.al,

1:20-cv-00998.

       This the 1st day of December, 2020.


                                    BY:    /s/Patrick H. Flanagan
                                           Patrick H. Flanagan, NC Bar #17407
                                           /s/ Paul G. Gessner
                                           Paul G. Gessner, NC Bar #18213
                                           Attorneys for Defendants Alamance
                                           County and Terry S. Johnson
                                           CRANFILL SUMNER & HARTZOG LLP
                                           P.O. Box 30787
                                           Charlotte, NC 28230
                                           Telephone (704) 332-8300
                                           Facsimile (704) 332-9994
                                           phf@cshlaw.com
                                           pgessner@cshlaw.com

                                              5


      Case 1:20-cv-00997-CCE-LPA Document 20 Filed 12/01/20 Page 5 of 7
                       By:   /s/ Anthony J. Biller
                             Anthony J. Biller, NC Bar #24117
                             Attorney for Defendants City of Graham
                             and Kristi Cole
                             MICHAEL BEST & FRIEDRICH, LLP
                             2501 Blue Ridge Road, Suite 390
                             Telephone: (984) 220-8750
                             Facsimile: (877) 398-5240
                             Email: ajbiller@michaelbest.com

                       By:   /s/William L. Hill
                             William L. Hill, NC Bar #21095
                             Attorney for Defendants Alamance
                             County and Terry S. Johnson
                             FRAZIER, HILL & FURY, R.L.L.P.
                             2307 W. Cone Boulevard, Suite 260
                             Post Office Drawer 1559
                             Greensboro, North Carolina 27401
                             Telephone: (336) 378-9411
                             Facsimile: (336) 274-7358
                             whill@frazierlawnc.com




                               6


Case 1:20-cv-00997-CCE-LPA Document 20 Filed 12/01/20 Page 6 of 7
                                 CERTIFICATE OF SERVICE

      This is to certify that the undersigned has this day filed the foregoing Brief in
Support of Defendants’ Motion to Consolidate with the Clerk of Court using the CM/ECF
system, which will send electronic notification of such filing to the following:

 Geraldine Sumter                                Anthony Biller
 gsumter@fergusonsumter.com                      ajbiller@michaelbest.com

 Anuja D. Thatte                                 Attorney for Defendants City of Graham,
 athatte@naacpldf.org                            NC and Kristi Cole

 Clarence W. Phillips
 cphillips@cov.com
                                                 William L. Hill
 Marianne Spencer                                whill@frazierlawnc.com
 mspencer@cov.com
                                                 Clyde B. Albright
 Leah Aden                                       Clyde.Albright@alamance-nc.com
 laden@naacpldf.org
                                                 Attorneys for Defendants          Alamance
 Morgan Lewis                                    County and Terry S. Johnson
 melewis@cov.com

 Attorneys for Plaintiffs

       This the 1st day of December, 2020.

                                   BY:    /s/Patrick H. Flanagan
                                          Patrick H. Flanagan, NC Bar #17407
                                          Attorney for Defendants Alamance
                                          County and Terry S. Johnson
                                          CRANFILL SUMNER & HARTZOG LLP
                                          P.O. Box 30787
                                          Charlotte, NC 28230
                                          Telephone (704) 332-8300
                                          Facsimile (704) 332-9994
                                          phf@cshlaw.com




                                             7


      Case 1:20-cv-00997-CCE-LPA Document 20 Filed 12/01/20 Page 7 of 7
